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14
15                               UNITED STATES DISTRICT COURT
16                          NORTHERN DISTRICT OF CALIFORNIA
17                                      OAKLAND DIVISION
18
19
      Caley Keene, individually, and on             CASE NO.
20    behalf of those similarly situated,
                                                    CLASS ACTION COMPLAINT
21                         Plaintiff,
                                                    Demand for Jury Trial
22           v.
23    BEAUMONT PRODUCTS, INC.,
24
25                         Defendant.

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27
28
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                                          Plaintiff Caley Keene brings this action on behalf of herself and all others
                            1
                            2    similarly situated against BEAUMONT PRODUCTS, INC. Plaintiff makes the

                            3    following allegations pursuant to the investigation of counsel and based upon
                            4
                                 information and belief, except as to the allegations specifically pertaining to herself,
                            5
                                 which are based on personal knowledge.
                            6
                                                                NATURE OF THE ACTION
                            7
                            8             1.    This case arises from Defendant’s deceptive and misleading practices

                            9    with respect to its marketing and sale of its soap products (collectively, the “Product”
                            10
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                                 or “Products”).1
                            11
                                          2.    Defendant manufactures, markets, and sells its Products throughout the
                            12
                            13   United States including the State of California.

                            14            3.    Despite the representations made on the Products’ labels which lead

                            15   reasonable consumers to believe that the Products are “natural,” they are not.
                            16
                                          4.    The brand has grown significantly, and this growth was not by accident.
                            17
                                 Rather, it developed from specifically targeting the “natural” market with intense
                            18
                            19   focus.

                            20            5.    Defendant’s marketing efforts stress the purported “natural”

                            21   composition of their Products.
                            22
                                          6.    Notably, the principal display panel of all of the Products states
                            23
                                 “CLEARLY NATURAL” and “Pure and Natural.”
                            24
                            25
                            26
                            27   1At the time of this filing, the following Rael products are included in this definition:
                                 Unscented Glycerin Hand Soap, Tea Tree Glycerin Hand Soap, Vitamin E Glycerin
                            28
                                 Hand Soap, and Aloe Vera Glycerin Hand Soap. This definition is not exhaustive, and
                                 shall include all of Defendant’s products that are similarly deceptively marketed.
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                            9
                            10         7.     The word “Natural” is a representation to a reasonable consumer that
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                            11   the Product contains only natural ingredients.
                            12
                                       8.     Reasonable consumers, including Plaintiff, interpret “natural” to mean
                            13
                                 that the product does not include synthetic ingredients.
                            14
                                       9.     Despite this representation, the Products are not natural because they
                            15
                            16   include multiple synthetic ingredients.

                            17         10.    Specifically, the Products contain the following synthetic ingredients:
                            18
                                 Phenoxyethanol and Ethylhexylglycerin.
                            19
                                       11.    Plaintiff and those similarly situated (“Class Members”) relied on
                            20
                                 Defendant’s misrepresentations that the Products are “natural” when purchasing the
                            21
                            22   Products.

                            23         12.    Reasonable consumers purchased the Products believing, among other
                            24
                                 things, that they were accurately represented. Specifically, reasonable consumers
                            25
                                 believed that the Products contained accurate label information and representations.
                            26
                                 Reasonable consumers would not have purchased the Products if they had known
                            27
                            28   about the misrepresentations or would have purchased them on different terms.

                                                                           –2–
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                                       13.    Plaintiff brings this action individually and on behalf of those similarly
                            1
                            2    situated and seeks to represent a Nationwide Class, a Multi-State Consumer Class,

                            3    and a California Class. Plaintiff seeks damages, interest thereon, reasonable
                            4
                                 attorneys’ fees and costs, restitution, other equitable relief, and disgorgement of all
                            5
                                 benefits Defendant has enjoyed from its unlawful and/or deceptive business practices,
                            6
                                 as detailed herein. In addition, Plaintiff seeks injunctive relief to stop Defendant’s
                            7
                            8    unlawful conduct in the labeling and marketing of the Products.

                            9          14.    Defendant’s conduct violated and continues to violate, inter alia, the
                            10
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                                 consumer protection statutes of California. Defendant has been and continues to be
                            11
                                 unjustly enriched. Accordingly, Plaintiff brings this action against Defendant on
                            12
                            13   behalf of herself and Class Members who purchased the Products during the

                            14   applicable statute of limitations period (the "Class Period").

                            15
                            16
                                                             JURISDICTION AND VENUE
                            17
                                       15.    This Court has personal jurisdiction over Defendant. Defendant
                            18
                            19   purposefully avails itself of the California consumer market and distributes the

                            20   Products to many locations within the state, where the Products are purchased by

                            21   hundreds of consumers every day.
                            22
                                       16.    This Court has original subject-matter jurisdiction over this proposed
                            23
                                 class action pursuant to 28 U.S.C. § 1332(d), which, under the provisions of the Class
                            24
                            25   Action Fairness Act (“CAFA”), explicitly provides for the original jurisdiction of the

                            26   federal courts in any class action in which at least 100 members are in the proposed

                            27   Plaintiff’s class and the matter in controversy exceeds the sum of $5,000,000.00,
                            28
                                 exclusive of interest and costs. Plaintiff alleges that the total claims of individual
                                                                             –3–
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                                 members of the proposed Classes (as defined herein) are well in excess of
                            1
                            2    $5,000,000.00 in the aggregate, exclusive of interest and costs.

                            3          17.      Venue is proper in this District under 28 U.S.C. § 1391. Plaintiff’s
                            4
                                 purchases of Defendant’s Products, substantial acts in furtherance of the alleged
                            5
                                 improper conduct, including the dissemination of false and misleading information
                            6
                                 regarding the nature, quality, and/or ingredients of the Products, occurred within this
                            7
                            8    District and the Defendant conducts business in this District.

                            9
                                                              DIVISIONAL ASSIGNMENT
                            10
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                                       18.      Pursuant to Civil Local Rule 3-2(c-d), a substantial part of the events
                            11
                                 giving rise to the claims arose in Alameda County, and this action should be assigned
                            12
                                 to the Oakland Division.
                            13
                            14
                                                                         PARTIES
                            15         19.      Plaintiff Caley Keene is a citizen of California who purchased the
                            16
                                 Products during the class period, as described herein. Plaintiff’s purchases took place
                            17
                                 in California. In addition, the advertising and labeling on the package of the Products
                            18
                            19   purchased by Plaintiff, including the “natural” representations, is typical of the

                            20   advertising and labeling of the Products purchased by members of the Class. Plaintiff
                            21
                                 relied on the representation on the packaging that the Products were “natural.”
                            22
                                             a. Within the past three years, Plaintiff purchased the Unscented and Aloe
                            23
                                                Vera versions of the Product on multiple occasions. These purchases
                            24
                            25                  were made at retailers throughout California. Most recently in August

                            26                  2021, Plaintiff purchased Defendant’s Product from the Berkeley
                            27
                                                Natural Grocery store in Berkeley, CA at a price of approximately $7.00.
                            28

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                                       20.      Defendant BEAUMONT PRODUCTS, INC. is a Georgia corporation
                            1
                            2    with its principal place of business in Kennesaw, Georgia.

                            3                a. Defendant produces, markets and distributes the Products in retail
                            4
                                                stores across the United States including stores physically located in the
                            5
                                                State of California and this District.
                            6
                                       21.      Plaintiff reserves the right to amend this Complaint to add different or
                            7
                            8    additional defendants, including without limitation any officer, director, employee,

                            9    supplier, or distributor of Defendant who has knowingly and willfully aided, abetted,
                            10
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                                 or conspired in the false and deceptive conduct alleged herein.
                            11
                                       22.      Whenever reference is made in this Complaint to any representation,
                            12
                            13   act, omission, or transaction of a defendant, that allegation shall mean that the

                            14   defendant did the act, omission, or transaction through its officers, directors,

                            15   employees, agents, and/or representatives while they were acting within the actual or
                            16
                                 ostensible scope of their authority.
                            17
                            18
                            19                                             FACTS
                                       A. Consumers Value Representations that a Product is Natural
                            20
                            21         23.      Consumers have become increasingly concerned about the effects of

                            22   synthetic and chemical ingredients in food, cleaning products, bath and beauty
                            23
                                 products and everyday household products.2
                            24
                            25
                            26
                            27   2Julianna M. Butler & Christian A. Vossler, What is an Unregulated and Potentially
                                 Misleading Label Worth? The case of “Natural”-Labelled Groceries, Environmental &
                            28   Resource Economics, Springer; European Association of Environmental and Resource
                                 Economists, vol. 70(2), pages 545-564 (2017).
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                                       24.    Companies such as the Defendant have capitalized on consumers'
                            1
                            2    desires for purportedly "natural products."

                            3          25.    Indeed, consumers are willing to pay, and have paid, a premium for
                            4
                                 products branded "natural" over products that contain synthetic ingredients.
                            5
                                       26.    In 2015, sales of natural products grew 9.5% to $180 billion.3 Reasonable
                            6
                                 consumers, including Plaintiff and Class Members, value natural products for
                            7
                            8    important reasons, including the belief that they are safer and healthier than

                            9    alternative products that are not represented as natural.
                            10
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                                       27.    Further, consumers have become increasingly concerned about the
                            11
                                 effects of synthetic ingredients in consumer products.4
                            12
                            13         28.    Reasonable consumers, including Plaintiff and Class Members, value

                            14   natural products for important reasons, including the belief that they are safer and

                            15   healthier than alternative products that are not represented as natural.
                            16
                                       29.    As a result, “natural” products are worth more than products that
                            17
                                 contain artificial ingredients, and consumers pay a premium for products labeled
                            18
                            19   “natural” over products that contain synthetic ingredients.

                            20
                            21
                            22
                            23
                                 3 Natural Products Industry Sales up 9.5% to $180bn Says NBJ, FOOD
                            24   NAVIGATOR, http://www.foodnavigator-usa.com/Markets/EXPO-WEST-
                            25   trendspotting-organics-natural-claims/(page)/6 ; see also Shoshanna Delventhal,
                                 Study Shows Surge in Demand for "Natural" Products, INVESTOPEDIA (February
                            26   22, 2017), http://www. investopedia.com/articles/investing/022217/study-shows-surge-
                                 demand-natural-products.asp (Study by Kline Research indicated that in 2016, the
                            27   personal care market reached 9% growth in the U.S. and 8% in the U.K. The trend-
                                 driven natural and organic personal care industry is on track to be worth $25.1
                            28   million by 2025).
                                 4 Butler and Vossler, supra note 2.

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                                       B. Plaintiff and Other Reasonable Consumers Understand Natural to
                            1
                                          Mean that a Product Lacks Artificial Ingredients
                            2
                                       30.    Plaintiff and Class Members understand “natural” representations to
                            3
                                 mean that a product lacks synthetic ingredients.
                            4

                            5          31.    This interpretation is consistent with the understanding of a reasonable

                            6    consumer.
                            7
                                       32.    The test to determine if a company’s “natural” representation is
                            8
                                 deceptive is judged by whether it would deceive or mislead a reasonable person. To
                            9
                                 assist in ascertaining what a reasonable consumer believes the term “natural” means,
                            10
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                            11   one can look to regulatory agency guidance.

                            12         33.    Federal agencies have warned companies that they must ensure that
                            13
                                 they can substantiate “natural” claims.
                            14
                                       34.    In 2013, the United States Department of Agriculture ("USDA") issued a
                            15
                            16   Draft Guidance Decision Tree for Classification of Materials as Synthetic or

                            17   Nonsynthetic (Natural). In accordance with this decision tree, a substance is

                            18   natural—as opposed to synthetic—if: (a) it is manufactured, produced, or extracted
                            19
                                 from a natural source (i.e. naturally occurring mineral or biological matter); (b) it has
                            20
                                 not undergone a chemical change (i.e. a process whereby a substance is transformed
                            21
                            22   into one or more other distinct substances) so that it is chemically or structurally

                            23   different than how it naturally occurs in the source material; or (c) the chemical

                            24   change was created by a naturally occurring biological process such as composting,
                            25
                                 fermentation, or enzymatic digestion or by heating or burning biological matter.5
                            26
                            27
                                 5U.S. Department of Agriculture, Draft Guidance Decision Tree for Classification of
                            28
                                 Materials as Synthetic or Nonsynthetic, March 26, 2013, available at
                                 https://web.archive.org/web/20140818174458/http://www.ams.usda.gov/AMSv1.0/getfi
                                                                          –7–
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                                          35.   The FTC has warned companies that the use of the term “natural” may
                            1
                            2    be deceptive: 6

                            3             Marketers that are using terms such as natural must ensure that they
                                          can substantiate whatever claims they are conveying to reasonable
                            4
                                          consumers. If reasonable consumers could interpret a natural claim as
                            5             representing that a product contains no artificial ingredients, then the
                                          marketer must be able to substantiate that fact.
                            6
                                          36.   Likewise, the Food and Drug Administration (“FDA”) warns that any
                            7
                            8    “natural” labeling on products must be “truthful and not misleading.”7

                            9             37.   In April 2016, the FTC settled with four manufacturers and filed a
                            10
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                                 complaint against a fifth company for representing that its products were “natural”
                            11
                                 when they contained Phenoxyethanol and other synthetic ingredients. The
                            12
                            13   manufacturers agreed to cease marketing the products in question as being

                            14   “natural.”8

                            15            38.   Surveys and other market research, including expert testimony Plaintiff
                            16
                                 intends to introduce, will demonstrate that the term “natural” is misleading to a
                            17
                                 reasonable consumer because the reasonable consumer believes that the term
                            18
                            19   “natural,” when used to describe goods such as the Products, means that the goods

                            20   are free of synthetic ingredients. For example, according to a consumer survey,

                            21
                            22
                            23
                                 le?dDocName=STELPRDC5103308.
                            24
                                 6   75 Fed. Reg. 63552, 63586 (Oct. 15, 2010).
                            25   7U.S. Food and Drug Administration, Small Business & Homemade Cosmetics: Fact
                            26   Sheet, available at
                                 http://www.fda.gov/Cosmetics/ResourcesForYou/Industry/ucm388736.htm#7.
                            27   8Four Companies Agree to Stop Falsely Promoting Their Personal-Care Products as
                                 “All Natural” or “100% Natural”; Fifth is Charged in Commission Complaint, (April
                            28
                                 2016), https://www.ftc.gov/news-events/press-releases/2016/04/four-companies-agree-
                                 stop-falsely-promoting-their-personal-care (last visited Mar. 17, 2021).
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                                 “[e]ighty-six percent of consumers expect a ‘natural’ label to mean processed foods do
                            1
                            2    not contain any artificial ingredients.”9

                            3           39.   A reasonable consumer’s understanding of the term “natural” comports
                            4
                                 with that of federal regulators and common meaning. That is, the reasonable
                            5
                                 consumer understands the representation that a product is “natural” to mean that it
                            6
                                 does not contain any synthetic ingredients.10
                            7
                            8

                            9           C. Defendant Represents that the Products are Natural
                            10          40.   Defendant capitalizes on consumers’ preferences for natural products by
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                            11
                                 making representations to consumers on its Products that they are natural.
                            12
                                        41.   The front label of every Product states that the Product is “CLEARLY
                            13
                            14   NATURAL” and “Pure and Natural.”

                            15          42.   The following image is an example of that representation being
                            16   prominently made on one of the Products:
                            17
                            18
                            19
                            20
                            21
                            22
                            23
                            24   9 Urvashi Rangan, Comments of Consumers Union on Proposed Guides for Use of
                                 Environmental Marketing Claims, 16 C.F.R. Part 260, Notice of the Federal Trade
                            25   Commission (2010), available at
                                 https://www.ftc.gov/sites/default/files/documents/public_comments/guides-use-
                            26   environmental-marketing-claims-project-no.p954501-00289%C2%A0/00289-57072.pdf
                                 (also accessible as Comment 58 at
                            27   http://www.ftc.gov/policy/publiccomments/initiative-353).
                            28   10Butler and Vossler, supra note 2. “The vast majority of respondents stated a belief
                                 that ‘natural’ signals no artificial flavors, colors and/or preservatives.” Id.
                                                                             –9–
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                            13
                            14
                            15
                            16
                            17         43.    Based on the language that appears on the front of each product,

                            18   Plaintiff reasonably believed that Products contained only natural ingredients.
                            19
                                       44.    “Natural” is a representation to a reasonable consumer that the
                            20
                                 Products contain only natural ingredients.
                            21
                                       45.    Defendant represents on its Products’ labels that the Products are
                            22
                            23   “natural.”

                            24         D. Defendant’s Representations Are False, Misleading, and Deceptive
                            25         46.    Despite representing that the Products are “natural,” the Products
                            26
                                 contain multiple synthetic ingredients.
                            27
                            28

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                                        47.      Thus, Defendant’s representations that the Products are “natural” is
                            1
                            2    false, misleading, and deceptive because the Products contain ingredients that are, as

                            3    set forth and described below, synthetic.11
                            4
                                              a. Phenoxyethanol is a synthetic substance associated with depressing
                            5
                                                 the central nervous system, vomiting, and diarrhea.12 This synthetic
                            6
                                                 chemical concerned the FDA, and the agency warned consumers against
                            7
                            8                    using on nursing infants because it “can depress the central nervous

                            9                    system” and “may cause vomiting and diarrhea, which can lead to
                            10
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                                                 dehydration in infants.”13 Concern for the use of this synthetic
                            11
                                                 ingredient is not restricted to the United States, and after concerns were
                            12
                            13                   raised by the European Commission’s Scientific Committee on

                            14                   Consumer Safety, France prohibited the labeling and marketing of

                            15                   products containing Phenoxyethanol for use on children that are three
                            16
                                                 years old and younger.14
                            17
                                              b. Ethylhexylglycerin is a synthetic derived form of vegetable glycerin.
                            18
                            19
                            20
                            21   11Other ingredients in the Products may also be artificial as well. Plaintiff’s
                            22   investigation is ongoing and will seek to amend the Complaint to specify other
                                 potential artificial ingredients in the future.
                            23   12 21 C.F.R. §172.515 and FDA Consumer Update: Contaminated Nipple Cream, (May
                            24   2008),
                                 https://web.archive.org/web/20140712202507/https://www.fda.gov/ForConsumers/Con
                            25   sumerUpdates/ucm049301.htm (last visited Mar. 17, 2021).
                                 13 U.S. Food and Drug Administration, For Consumers, Contaminated Nipple Cream,
                            26   https://web.archive.org/web/20140712202507/https://www.fda.gov/ForConsumers/Con
                                 sumerUpdates/ucm049301.htm (last visited Mar. 17, 2021).
                            27   14 Agence Nationale de Sécurité du Médicament et des Produits de Santé, Decision of

                                 13 Mars 2019, available at
                            28
                                 https://www.ansm.sante.fr/content/download/158253/2075101/version/1/file/DPS_Phe
                                 noxyethanol-200319.pdf.
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                                       48.    Consumers lack the meaningful ability to test or independently
                            1
                            2    ascertain or verify whether a product is natural, especially at the point of sale.

                            3    Consumers would not know that the Products contain unnatural, synthetic
                            4
                                 ingredients, by reading the ingredients label.
                            5
                                       49.    Discovering that the ingredients are not natural and are actually
                            6
                                 synthetic requires an investigation beyond that of the skills of the average consumer.
                            7
                            8    That is why, even though the ingredients listed above are identified on the back of

                            9    the Products’ packaging in the ingredients listed, the reasonable consumer would not
                            10
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                                 understand – nor are they expected to understand – that these ingredients are
                            11
                                 synthetic.
                            12
                            13         50.    Moreover, the reasonable consumer is not expected or required to scour

                            14   the ingredients list on the back of the Products in order to confirm or debunk

                            15   Defendant’s prominent front-of-the-product claims, representations, and warranties
                            16
                                 that the Products are “natural.”
                            17
                                       51.    Defendant did not disclose that the above listed ingredients are
                            18
                            19   synthetic ingredients anywhere on the Product. A reasonable consumer understands

                            20   Defendant's "natural" claims to mean that the Products are "natural" and do not

                            21   contain synthetic ingredients.
                            22
                                       52.    Consumers rely on label representations and information in making
                            23
                                 purchasing decisions.
                            24
                            25         53.    The marketing of the Products as “natural” in a prominent location on

                            26   the labels of all of the Products, throughout the Class Period, evidences Defendant’s

                            27   awareness that “natural” claims are material to consumers.
                            28

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                                       54.      Additionally, Defendant is aware that products containing synthetic
                            1
                            2    ingredients have lower demand and exploit reasonable consumers by projecting that

                            3    the Products are “natural” and free of synthetic, bad ingredients.
                            4
                                       55.      Defendant’s deceptive representations are material in that a reasonable
                            5
                                 person would attach importance to such information and would be induced to act
                            6
                                 upon such information in making purchase decisions.
                            7
                            8          56.      Plaintiff and the Class Members reasonably relied to their detriment on

                            9    Defendant’s misleading representations and omissions.
                            10
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                                       57.      Defendant's false, misleading, and deceptive misrepresentations and
                            11
                                 omissions are likely to continue to deceive and mislead reasonable consumers, as they
                            12
                            13   have already deceived and misled the Plaintiff and the Class Members.

                            14         E. Defendant’s Deceptive Conduct Caused Plaintiff’s and Class
                                          Members’ Injuries
                            15
                            16         58.      In making the false, misleading, and deceptive representations and

                            17   omissions described herein, Defendant knew and intended that consumers would pay

                            18   a premium for Products labeled "natural" over comparable products not so labeled
                            19
                                 and marketed.
                            20
                                       59.      As an immediate, direct, and proximate result of Defendant's false,
                            21
                            22   misleading, and deceptive representations, Defendant injured the Plaintiff and the

                            23   Class Members in that they:

                            24               a. Paid a sum of money for Products that were not what Defendant
                            25
                                                represented;
                            26
                                             b. Paid a premium price for Products that were not what Defendant
                            27
                            28                  represented;


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                                             c. Were deprived of the benefit of the bargain because the Products they
                            1
                            2                   purchased were different from what Defendant warranted; and

                            3                d. Were deprived of the benefit of the bargain because the Products they
                            4
                                                purchased had less value than what Defendant represented.
                            5
                                       60.      Plaintiff and the Class Members paid for Products that were "natural"
                            6
                                 but received Products that were not "natural." The products Plaintiff and the Class
                            7
                            8    Members received were worth less than the products for which they paid.

                            9          61.      Based on Defendant's misleading and deceptive representations,
                            10
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                                 Defendant were able to, and did, charge a premium price for the Products over the
                            11
                                 cost of competitive products not bearing the misrepresentations.
                            12
                            13         62.      Plaintiff and the Class Members paid money for the Products. However,

                            14   Plaintiff and the Class Members did not obtain the full value of the advertised

                            15   Products due to Defendant's misrepresentations and omissions. Plaintiff and the
                            16
                                 Class Members purchased, purchased more of, and/or paid more for, the Products
                            17
                                 than they would have had they known the truth about the Products. Consequently,
                            18
                            19   Plaintiff and the Class Members have suffered injury in fact and lost money as a

                            20   result of Defendant's wrongful conduct.

                            21         63.      Defendant knew that consumers will pay more for a product marketed
                            22
                                 as “natural,” and intended to deceive Plaintiff and putative Class Members by
                            23
                                 labeling and marketing the Products as purportedly natural products.
                            24
                            25         64.      Plaintiff and Class Members paid for the Products over and above

                            26   comparable products that did not purport to be “natural.” Given that Plaintiff and

                            27   Class Members paid for the Products based on Defendant’s misrepresentations that
                            28

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                                 they are “natural,” Plaintiff and Class Members suffered an injury in the amount
                            1
                            2    paid.

                            3            65.      Additionally, Plaintiff and Class Members paid a premium for the
                            4
                                 Products over and above comparable products that did not purport to be “natural.”
                            5
                                 Given that Plaintiff and Class Members paid a premium for the Products based on
                            6
                                 Defendant’s misrepresentations that they are “natural,” Plaintiff and Class Members
                            7
                            8    suffered an injury in the amount of the premium paid.

                            9
                            10
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                                                       CLASS DEFINITIONS AND ALLEGATIONS
                            11
                                         66.      Plaintiff, pursuant to Federal Rule of Civil Procedure 23, brings this
                            12
                            13   action on behalf of the following classes (collectively, the “Class,” “Classes,” and

                            14   “Class Members”):

                            15                 a. Multi-State Consumer Class: All persons in the States of California,
                            16
                                                  Florida, Illinois, Maryland, Massachusetts, Minnesota, Missouri, New
                            17
                                                  Jersey, New York, Pennsylvania, Oregon, and Washington who
                            18
                            19                    purchased the Products.15

                            20
                            21
                            22
                            23
                            24   15The States in the Multi-State Consumer Class are limited to those States with
                                 similar consumer protection laws under the facts of this case: California (Cal. Bus. &
                            25   Prof. Code § 17200, et seq.); Florida (Fla. Stat. § 501.201, et seq.); Illinois (815 ILCS
                                 505/1, et seq.); Maryland (Md. Com. Law §§ 13-301); Massachusetts (Mass. Gen. Laws
                            26   Ch. 93A, et seq.); Michigan (Mich. Comp. Laws § 445.901, et seq.); Minnesota (Minn.
                                 Stat. § 325F.67, et seq.); Missouri (Mo. Rev. Stat. 407.010, et seq.); New Jersey (N.J.
                            27   Stat. § 56:8-1, et seq.); New York (N.Y. Gen. Bus. Law § 349, et seq.); Pennsylvania
                                 (73 Pa. Stat. Ann. §§ 201-1 et seq.); Oregon (Or. Rev. Stat. §§ 646.605, et seq.); and
                            28   Washington (Wash Rev. Code § 19.86.010, et seq.).

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                                             b. California Class: All persons who purchased Defendant’s Products
                            1
                            2                   within the State of California and within the applicable statute of

                            3                   limitations period; and
                            4
                                             c. Nationwide Class: All persons who purchased Defendant’s Products
                            5
                                                within the United States and within the applicable statute of limitations
                            6
                                                period.
                            7
                            8          67.      Excluded from the Classes are Defendant, its parents, subsidiaries,

                            9    affiliates, officers, and directors, those who purchased the Products for resale, all
                            10
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                                 persons who make a timely election to be excluded from the Classes, the judge to
                            11
                                 whom the case is assigned and any immediate family members thereof, and those
                            12
                            13   who assert claims for personal injury.

                            14         68.      The members of the Classes are so numerous that joinder of all Class

                            15   Members is impracticable. Defendant has sold, at a minimum, millions of units of the
                            16
                                 Products to Class Members.
                            17
                                       69.      There is a well-defined community of interest in the questions of law and
                            18
                            19   fact involved in this case. Questions of law and fact common to the members of the

                            20   putative classes that predominate over questions that may affect individual Class

                            21   Members include, but are not limited to the following:
                            22
                                             a. whether Defendant misrepresented material facts concerning the
                            23
                                                Products on the label of every product;
                            24
                            25               b. whether Defendant’s conduct was unfair and/or deceptive;

                            26               c. whether Defendant has been unjustly enriched as a result of the

                            27                  unlawful, fraudulent, and unfair conduct alleged in this Complaint such
                            28

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                                                that it would be inequitable for Defendant to retain the benefits
                            1
                            2                   conferred upon them by Plaintiff and the Classes;

                            3                d. whether Plaintiff and the Class are entitled to equitable and/or
                            4
                                                injunctive relief;
                            5
                                             e. whether Defendant breached express and implied warranties to Plaintiff
                            6
                                                and the Classes;
                            7
                            8                f. whether Plaintiff and the Classes have sustained damages with respect

                            9                   to the claims asserted, and if so, the proper measure of their damages.
                            10
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                                       70.      Plaintiff’s claims are typical of those of other Class Members because
                            11
                                 Plaintiff, like all members of the Classes, purchased Defendant’s Products bearing
                            12
                            13   the natural representations and Plaintiff sustained damages from Defendant’s

                            14   wrongful conduct.

                            15         71.      Plaintiff will fairly and adequately protect the interests of the Classes
                            16
                                 and has retained counsel that is experienced in litigating complex class actions.
                            17
                                 Plaintiff has no interests which conflict with those of the classes.
                            18
                            19         72.      A class action is superior to any other available means for the fair and

                            20   efficient adjudication of this controversy, and no unusual difficulties are likely to be

                            21   encountered in the management of this class action. The damages or other financial
                            22
                                 detriment suffered by Plaintiff and the other Class Members are relatively small
                            23
                                 compared to the burden and expense that would be required to individually litigate
                            24
                            25   their claims against Defendant, making it impracticable for Class Members to

                            26   individually seek redress for Defendant’s wrongful conduct. Even if Class Members

                            27   could afford individual litigation, the court system could not. Individualized litigation
                            28
                                 creates a potential for inconsistent or contradictory judgments, and increases the
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                                 delay and expense to all parties and the court system. By contrast, the class action
                            1
                            2    device presents far fewer management difficulties, and provides the benefits of single

                            3    adjudication, economies of scale, and comprehensive supervision by a single court.
                            4
                                          73.     The prerequisites to maintaining a class action for equitable relief are
                            5
                                 met as Defendant has acted or refused to act on grounds generally applicable to the
                            6
                                 classes, thereby making appropriate equitable relief with respect to the classes as a
                            7
                            8    whole.

                            9             74.     The prosecution of separate actions by members of the classes would
                            10
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                                 create a risk of establishing inconsistent rulings and/or incompatible standards of
                            11
                                 conduct for Defendant. For example, one court might enjoin Defendant from
                            12
                            13   performing the challenged acts, whereas another might not. Additionally, individual

                            14   actions could be dispositive of the interests of the classes even where certain Class

                            15   Members are not parties to such actions.
                            16
                                                                          COUNT I
                            17                  Violation of California’s Unfair Competition Law (“UCL”),
                                                        CAL. BUS. & PROF. CODE §§ 17200, et seq.
                            18
                                          75.     Plaintiff repeats and realleges each and every allegation contained in
                            19
                            20   the foregoing paragraphs as if fully set forth herein.

                            21            76.     Plaintiff brings this Count individually and on behalf of the members of
                            22
                                 the California Class.
                            23
                                          77.     Defendant is subject to California’s Unfair Competition Law, Cal. Bus. &
                            24
                                 Prof. Code §§ 17200, et seq. The UCL provides, in pertinent part: “Unfair competition
                            25
                            26   shall mean and include unlawful, unfair or fraudulent business practices and unfair,

                            27   deceptive, untrue or misleading advertising ….”
                            28

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                                       78.    Defendant violated the “unlawful” prong of the UCL by violating
                            1
                            2    California’s Consumer Legal Remedies Acts (“CLRA”) and False Advertising Law

                            3    (“FAL”), as alleged herein.
                            4
                                       79.    Defendant’s misrepresentations and other conduct, described herein,
                            5
                                 violated the “unfair” prong of the UCL in that its conduct is substantially injurious to
                            6
                                 consumers, offends public policy, and is immoral, unethical, oppressive, and
                            7
                            8    unscrupulous, as the gravity of the conduct outweighs any alleged benefits.

                            9          80.    Defendant violated the “fraudulent” prong of the UCL by
                            10
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                                 misrepresenting that the Products are “natural” when, in fact, they are made with
                            11
                                 synthetic ingredients.
                            12
                            13         81.    Plaintiff and the California Class Members lost money or property as a

                            14   result of Defendant’s UCL violations because: because: (a) they would not have

                            15   purchased the Products on the same terms if they knew that the Products were made
                            16
                                 with synthetic ingredients (b) they paid a substantial price premium compared to
                            17
                                 other cosmetic products due to Defendant’s misrepresentations; and (c) the Products
                            18
                            19   do not have the characteristics, uses, or benefits as promised.

                            20         82.    In accordance with Bus. & Prof. Code § 17203, Plaintiff seeks an order

                            21   enjoining Defendant from continuing to conduct business through unlawful, unfair,
                            22
                                 and/or fraudulent acts and practices, and to commence a corrective advertising
                            23
                                 campaign.
                            24
                            25         83.    Plaintiff and the California Class also seek an order for the restitution of

                            26   all monies from the sale of the Products, which were unjustly acquired through acts

                            27   of unlawful competition.
                            28

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                                       84.    Because Plaintiff and the California Class Members’ claims under the
                            1
                            2    “unfair” prong of the UCL sweep more broadly than their claims under the FAL,

                            3    CLRA, or UCL’s “fraudulent” prong, Plaintiff’s legal remedies are inadequate to fully
                            4
                                 compensate Plaintiff for all of Defendant’s challenged behavior.
                            5
                            6
                                                                     COUNT II
                            7
                                                  Violation of The False Advertising Law (“FAL”),
                            8                       CAL. BUS. & PROF. CODE §§ 17500, et seq.

                            9          85.    Plaintiff repeats and realleges each and every allegation contained in
                            10   the foregoing paragraphs as if fully set forth herein.
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                            11
                                       86.    Plaintiff brings this Count individually and on behalf of the members of
                            12
                                 the California Class.
                            13
                            14         87.    California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et

                            15   seq., makes it “unlawful for any person to make or disseminate or cause to be made or
                            16   disseminated before the public in this state, ... in any advertising device ... or in any
                            17
                                 other manner or means whatever, including over the Internet, any statement,
                            18
                                 concerning ... personal property or services, professional or otherwise, or performance
                            19
                            20   or disposition thereof, which is untrue or misleading and which is known, or which by

                            21   the exercise of reasonable care should be known, to be untrue or misleading.”
                            22
                                       88.    Defendant committed acts of false advertising, as defined by §§17500, et
                            23
                                 seq., by misrepresenting that the Products are “natural” when they are not.
                            24
                                       89.    Defendant knew or should have known through the exercise of
                            25
                            26   reasonable care (i.e. pre-market testing) that its representations about the Products

                            27   were untrue and misleading.
                            28

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                                       90.    Defendant’s actions in violation of §§ 17500, et seq. were false and
                            1
                            2    misleading such that the general public is and was likely to be deceived.

                            3          91.    Plaintiff and the California Class Members lost money or property as a
                            4
                                 result of Defendant’s FAL violations because: (a) they would not have purchased the
                            5
                                 Products on the same terms if they knew that the Products were made with synthetic
                            6
                                 ingredients; (b) they paid a substantial price premium compared to other cosmetic
                            7
                            8    products due to Defendant’s misrepresentations; and (c) the Products do not have the

                            9    characteristics, uses, or benefits as promised.
                            10
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                                       92.    Defendant profited from the sale of the falsely and deceptively
                            11
                                 advertised Products to unwary consumers.
                            12
                            13         93.    As a result, Plaintiff, the California Class, and the general public are

                            14   entitled to injunctive and equitable relief, restitution, and an order for the

                            15   disgorgement of the funds by which Defendant was unjustly enriched.
                            16
                                       94.    Pursuant to Cal. Bus. & Prof. Code § 17535, Plaintiff, on behalf of
                            17
                                 herself and the California Class, seeks an order enjoining Defendant from continuing
                            18
                            19   to engage in deceptive business practices, false advertising, and any other act

                            20   prohibited by law, including those set forth in this Complaint.

                            21         95.    Because the Court has broad discretion to award restitution under the
                            22
                                 FAL and could, when assessing restitution under the FAL, apply a standard different
                            23
                                 than that applied to assessing damages under the CLRA, and restitution is not
                            24
                            25   limited to returning to Plaintiff and California Class Members monies in which they

                            26   have an interest, but more broadly serves to deter the offender and others from future

                            27   violations, the legal remedies available under the CLRA and commercial code are
                            28

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                                 more limited than the equitable remedies available under the FAL, and are therefore
                            1
                            2    inadequate.

                            3
                                                                      COUNT III
                            4                 Violation of The Consumer Legal Remedies Act (“CLRA”),
                            5                               CAL. CIV. CODE §§ 1750, et seq.

                            6          96.     Plaintiff repeats and realleges each and every allegation contained in

                            7    the foregoing paragraphs as if fully set forth herein.
                            8
                                       97.     Plaintiff brings this Count individually and on behalf of the members of
                            9
                                 the California Class.
                            10
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                                       98.     This cause of action is brought pursuant to California’s Consumers Legal
                            11
                            12   Remedies Act, Cal. Civ. Code §§ 1750 (the “CLRA”).

                            13         99.     Plaintiff and the other members of the Classes are “consumers,” as the
                            14
                                 term is defined by California Civil Code § 1761(d), because they bought the Products
                            15
                                 for personal, family, or household purposes.
                            16
                            17         100.    Plaintiff, the other members of the Classes, and Defendant has engaged

                            18   in “transactions,” as that term is defined by California Civil Code § 1761(e).

                            19         101.    The conduct alleged in this Complaint constitutes unfair methods of
                            20
                                 competition and unfair and deceptive acts and practices for the purpose of the CLRA,
                            21
                                 and the conduct was undertaken by Defendant in transactions intended to result in,
                            22
                            23   and which did result in, the sale of goods to consumers.

                            24         102.    As alleged more fully above, Defendant has violated the CLRA by falsely

                            25   representing to Plaintiff and the other members of the Classes that the Products are
                            26
                                 “natural” when in fact they are made with synthetic ingredients.
                            27
                                       103.    As a result of engaging in such conduct, Defendant has violated
                            28
                                 California Civil Code § 1770(a)(5), (a)(7) and (a)(9).
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                                       104.   Pursuant to the provisions of Cal. Civ. Code § 1782(a), Plaintiff provided
                            1
                            2    notice to Defendant of its alleged violations of the CLRA, demanding that Defendant

                            3    correct such violations, and providing it with the opportunity to correct its business
                            4
                                 practices. Notice was sent via certified mail, return receipt requested on December 6,
                            5
                                 2022. As of the date of filing this complaint, Defendant has not responded.
                            6
                                 Accordingly, if after 30 days no satisfactory response to resolve this litigation on a
                            7
                            8    class-wide basis has been received, Plaintiff will seek leave to amend this request to

                            9    seek restitution and actual damages as provided by the CLRA.
                            10
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                                       105.   Pursuant to California Civil Code § 1780, Plaintiff seeks injunctive
                            11
                                 relief, reasonable attorneys’ fees and costs, and any other relief that the Court deems
                            12
                            13   proper.

                            14                                        COUNT IV
                                                                  Unjust Enrichment
                            15
                            16         106.   Plaintiff repeats and realleges each and every allegation contained in

                            17   the foregoing paragraphs as if fully set forth herein.

                            18         107.   Plaintiff brings this claim individually and on behalf of the members of
                            19
                                 the proposed Classes against the Defendant.
                            20
                                       108.   At all times relevant hereto, Defendant deceptively marketed,
                            21
                            22   advertised, and sold merchandise to Plaintiff and the Classes.

                            23         109.   Plaintiff and members of the Classes conferred upon Defendant

                            24   nongratuitous payments for the Products that they would not have if not for
                            25
                                 Defendant’s deceptive advertising and marketing. Defendant accepted or retained the
                            26
                                 nongratuitous benefits conferred by Plaintiff and members of the Classes, with full
                            27
                            28   knowledge and awareness that, as a result of Defendant’s deception, Plaintiff and


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                                 members of the Classes were not receiving a product of the quality, nature, fitness, or
                            1
                            2    value that had been represented by Defendant and reasonable consumers would have

                            3    expected.
                            4
                                       110.      Defendant has been unjustly enriched in retaining the revenues derived
                            5
                                 from Plaintiff’s and Class Members’ purchases of the Products. Retention of those
                            6
                                 monies under these circumstances is unjust and inequitable because of Defendant’s
                            7
                            8    misrepresentations about the Products, which caused injuries to Plaintiff and Class

                            9    Members because they would not have purchased the Products if the true facts had
                            10
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                                 been known.
                            11
                                       111.      Because Defendant’s retention of the non-gratuitous benefits conferred
                            12
                            13   on it by Plaintiff and members of the Classes is unjust and inequitable, Defendant

                            14   must pay restitution to Plaintiff and members of the Classes for its unjust

                            15   enrichment, as ordered by the Court.
                            16
                                                                       COUNT V
                            17                     Violation of State Consumer Protection Statutes

                            18         112.      Plaintiff repeats and realleges each and every allegation above as if set
                            19
                                 forth herein.
                            20
                                       113.      Plaintiff brings this Count individually and on behalf of the members of
                            21
                            22   the Multi-State Consumer Class.

                            23         114.      The Consumer Protection Acts of the States in the Multi-State

                            24   Consumer Class prohibit the use of unfair or deceptive business practices in the
                            25
                                 conduct of trade or commerce.
                            26
                            27
                            28

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                                       115.   Defendant intended that Plaintiff and the other members of the Multi-
                            1
                            2    State Consumer Class would rely upon their deceptive conduct, and a reasonable

                            3    person would in fact be misled by its deceptive conduct.
                            4
                                       116.   As a result of the Defendant’s use or employment of unfair or deceptive
                            5
                                 acts or business practices, Plaintiff, and other members of Multi-State Consumer
                            6
                                 Class, have sustained damages in an amount to be proven at trial.
                            7
                            8

                            9                                   RELIEF DEMANDED
                            10
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                                       117.   WHEREFORE, Plaintiff, individually and on behalf of all others
                            11
                                 similarly situated, seeks judgment against Defendant, as follows:
                            12
                            13            a. For an order certifying the Class under Rule 23 of the Federal Rules of

                            14                Civil Procedure and naming Plaintiff as representative of the Classes

                            15                and Plaintiff’s attorneys as Class Counsel to represent the members of
                            16
                                              the Classes;
                            17
                                          b. For an order declaring the Defendant’s conduct violates the statutes and
                            18
                            19                laws referenced herein;

                            20            c. For an order awarding, as appropriate, compensatory and monetary

                            21                damages, statutory damages, restitution or disgorgement to Plaintiff
                            22
                                              and the Classes for all causes of action;
                            23
                                          d. For an order requiring Defendant to immediately cease and desist from
                            24
                            25                selling its misbranded Products in violation of law; enjoining Defendant

                            26                from continuing to label, market, advertise, distribute, and sell the

                            27                Products in the unlawful manner described herein; and ordering
                            28
                                              Defendant to engage in corrective action;
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                                         e. For prejudgment and postjudgment interest on all amounts awarded;
                            1
                            2            f. For an order awarding punitive damages; and

                            3               For an order awarding attorneys’ fees and expenses and costs of suit
                            4

                            5
                            6                                 JURY TRIAL DEMAND

                            7         Plaintiff demands a jury trial on all causes of action so triable.

                            8

                            9    Dated: December 6, 2022
                                                                        Good Gustafson Aumais LLP
                            10
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                                                                        /s/ J. Ryan Gustafson
                            11
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                                                                        Los Angeles, CA 90064
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                            25
                            26                                          *Pro hac vice forthcoming

                            27                                          Counsel for Plaintiff and the Proposed Class

                            28

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